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                UNITED STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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 2
        UNITED STATES OF AMERICA,
 3                                                       Case No. CR11-215-JLR
                              Plaintiff,
 4                                                       INITIALORDER RE: ALLEGATIONS
                       v.                                OF VIOLATION OF CONDITIONS
 5                                                       OF SUPERVISION BY UNITED
        MEGAN ILEEN MARIE FLEMING,                       STATES PRETRIAL SERVICES
 6
                              Defendant.
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 8
 9   THIS MATTER comes on for hearing on the Petition of the United States Pretrial Services Office
     Office alleging that the defendant has violated the conditions of the Appearance Bond supervision as
10   set forth in the Petition filed by U.S. Pretrial Services

11   The plaintiff appears through Special Assistant United States Attorney, DAVID JENNINGS.
     The defendant appears personally and represented by counsel, JOHN CARPENTER.
12
     The defendant has been advised of the allegation(s)and that he/she could be detained pending resolution
13   of the underlying charges in the Complaint/Indictment/ or Information if found to be in violation;
     maximum potential sanction if substantiated; and
14
     The court finding probable cause with regard to the allegation(s); the matter is scheduled for hearing
15   on the following time and date before the Honorable BRIAN A TSUCHIDA:

16
                            Date: JANUARY 18, 2012.
17
                            Time: 10:00 A.M.
18
     ( X ) Defendant remains on the current bond pending the above scheduled hearing.
19
     ( ) Defendant is ordered detained for failing to show that he/she will not flee or pose a danger to any
20   other person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
     by the court for further proceedings.
21
     The clerks shall direct copies of this order to counsel for the United States, to counsel for the defendant,
22   the United States Marshal and to the United States Pretrial Services Office.

23                                                        January 13, 2012.



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                                                          J. Richard Creatura
26                                                        United States Magistrate Judge
27
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     ORDER
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